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EXHIBIT A
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BUSINESS ORGANIZATIONS INQUIRY ~ VIEW ENTITY

Filing Number: 801343821 Entity Type: Domestic Limited Liability
Partnership (LLP)

Original Date of Filing: November 12,2010 Entity Status: In existence

Formation Date: NIA

Tax ID: FEIN: 721636760
Duration: Non-Perpetual Expiration
Period:
Name: BIG STAR GATHERING LTD LLP
Address: 1058 FM 3024

George West, TA 78022 USA

| REGISTERED AGENT FILING HISTORY NAMES MANAGEMENT ASSUMED NAMES

ASSOCIATED
ENTITIES

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Image Nurnber Filing Type Filing Date Effective Date
340376710002 Registration of a Limited Liability Partnership November 12, 2010 November 12, 2010

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